

Matter of Attorneys in Violation of Judiciary Law § 468-a (Sarconi) (2022 NY Slip Op 07138)





Matter of Attorneys in Violation of Judiciary Law § 468-a (Sarconi)


2022 NY Slip Op 07138


Decided on December 15, 2022


Appellate Division, Third Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered:December 15, 2022

PM-227-22
[*1]In the Matter of Attorneys in Violation of Judiciary Law § 468-a. Attorney Grievance Committee for the Third Judicial Department, Petitioner; James Joseph Sarconi, Respondent. (Attorney Registration No. 5276902.)

Calendar Date:October 31, 2022

Before:Lynch, J.P., Clark, Aarons, Pritzker and Reynolds Fitzgerald, JJ. 

Monica A. Duffy, Attorney Grievance Committee for the Third Judicial Department, Albany, for Attorney Grievance Committee for the Third Judicial Department.
James Joseph Sarconi, Sterling Heights, Michigan, respondent pro se.



Motion by respondent for an order reinstating him to the practice of law following his suspension by September 2022 order of this Court (Matter of Attorneys in Violation of Judiciary Law § 468-a, 208 AD3d 1421, 1441 [3d Dept 2022]; see Rules for Attorney Disciplinary Matters [22 NYCRR] § 1240.16; Rules of App Div, 3d Dept [22 NYCRR] § 806.16).
Upon reading respondent's notice of motion and affidavit with exhibits sworn to September 19, 2022, and the October 24, 2022 responsive correspondence from the Attorney Grievance Committee for the Third Judicial Department, and having determined, by clear and convincing evidence, that (1) respondent has complied with the order of suspension and the Rules of this Court, (2) respondent has the requisite character and fitness to practice law, and (3) it would be in the public interest to reinstate respondent to the practice of law (see Matter of Attorneys in Violation of Judiciary Law § 468-a [Toussaint], 196 AD3d 830, 830-831 [3d Dept 2021]), it is
ORDERED that respondent's motion for reinstatement is granted; and it is further
ORDERED that respondent is reinstated as an attorney and counselor-at-law, effective immediately.
Lynch, J.P., Clark, Aarons, Pritzker and Reynolds Fitzgerald, JJ., concur.








